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                                  WRITTEN CONSENT
                                         OF
                                  THE SOLE MEMBER
                                         OF
                              NIGHTHAWK ROYALTIES LLC


        The undersigned, being the sole member (“Sole Member”) of NIGHTHAWK
ROYALTIES LLC, a Delaware limited liability company (the “Company”), acting by written
consent without a meeting pursuant to the authority contained in §18-302 of the State of
Delaware Limited Liability Company Act, does hereby agree and consent that when the
undersigned has signed this consent or an exact counterpart hereof, each of which counterparts
when taken together shall constitute but one and only one consent (the “Consent”), the
resolutions set forth below shall be deemed to have been adopted to the same extent and to have
the same force and effect as if adopted at a formal meeting of the Sole Member, duly called and
held for the purpose of acting upon proposals to adopt such resolutions.

1.      Filing of Voluntary Chapter 11 Petition for the Company

     WHEREAS, the Sole Member has considered the financial and operational aspects of the
Company’s business and the recommendations of the Company’s professionals and advisors;
        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Sole Member, it
is desirable and in the best interests of the Company, its creditors, members and other interested
parties that a voluntary petition (the “Petition”) be filed by the Company seeking relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and be it
       FURTHER RESOLVED, that the proper officers of the Company (the “Authorized
Officers”), including, but not limited to, any of Richard McCullough, Executive Chairman,
Chuck Wilson, Chief Operating Officer and Chris Kohler, interim Chief Financial Officer, are
hereby authorized and empowered on behalf of and in the name of the Company to execute,
verify and cause to be filed the Petition, together with schedules of assets and liabilities, the
statement of financial affairs and other ancillary documents required by the Bankruptcy Code
and the Federal Rules of Bankruptcy Procedure to be filed with the Petition, at such time as the
Authorized Officers consider it appropriate; and be it
        FURTHER RESOLVED that the Authorized Officers, and any employees or agents
(including counsel) designated by or directed by the Authorized Officers, shall be, and each
hereby is, authorized and empowered to cause the Company and such of its affiliates as
management deems appropriate to enter into, execute, deliver, certify, file, record, and perform
such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates or other documents, and to take such other
actions, as in the judgment of such Authorized Officer shall be necessary, proper, and desirable
to prosecute to a successful completion the Company’s chapter 11 case and to carry out and put
into effect the purposes of the foregoing resolutions, and the transactions contemplated by
these resolutions, their authority thereunto to be evidenced by the taking of such actions; and
be it

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        FURTHER RESOLVED, that the Authorized Officers shall be, and each hereby is,
authorized and empowered on behalf of, and in the name of, the Company to retain
Greenberg Traurig, P.A., SSG Advisors, LLC, JND Corporate Restructuring, and such other
attorneys, investment bankers, accountants, financial advisors, and other professionals to assist
in the Company’s chapter 11 case on such terms as are deemed necessary, proper, or desirable
by the Authorized Officers.
2.      General Authorization

        NOW, THEREFORE, BE IT RESOLVED, that any and all acts taken and any and all
certificates, instruments, agreements or other documents executed on behalf of the Company by
the Authorized Officers prior to the adoption of the foregoing resolutions with regard to any of
the transactions, actions, certificates, instruments, agreements or other documents authorized or
approved by the foregoing resolutions be, and they hereby are, ratified, confirmed adopted and
approved; and be it
       FURTHER RESOLVED, that any specific resolutions that may be required to have been
adopted by the Sole Member to effectuate the matters and transactions contemplated by the
foregoing resolutions be, and they hereby are, adopted, and the officers and authorized
representatives of the Company be, and each of them acting along hereby is, authorized in the
name and on behalf of the Company to certify as to the adoption of any and all such resolutions;
and be it
        FURTHER RESOLVED, that the Authorized Officers shall be, and each hereby is,
authorized and empowered on behalf of the Company and in its name to take or cause to be taken
all actions and to execute and deliver all such instruments that such Authorized Officer
determines are necessary or desirable in connection with the foregoing resolutions; and be it
        FURTHER RESOLVED, that this Consent may be signed in any number of counterparts
(including by means of facsimile signature), each of which shall be deemed to be an original, and
all of which taken together shall be deemed to be a single consent.
                          [Remainder of Page Intentionally Left Blank.]




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        IN WITNESS WHEREOF, the undersigned has executed this Consent the 30th day of
April, 2018.


                                                    SOLE MEMBER:

                                                    NIGHTHAWK ENERGY PLC


                                                    By: /s/ Richard McCullough
                                                    Name: Richard McCullough
                                                    Title: Executive Chairman




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      Fill in this information to identify the case:

      Debtor name: NIGHTHAWK ROYALTIES LLC

      United States Bankruptcy Court for the District of DELAWARE

      Case number (If known):   _________________________
                                                                               (State)
                                                                                                                                            Check if this is an
                                                                                                                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number, and    Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                        debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated,   total claim amount and deduction for value of
                                                                              services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
     Commonwealth Bank of Australia           Jonathan Verlander                                                    $21,250,000
1                                                                                                                                                         Unknown
     811 Main Street, Suite 4675              (713) 341-9751
     Houston, Texas 77002-6235                jonathan.verlander@cba.com.au
     Attention: Jonathan Verlander

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    Debtor       NIGHTHAWK ROYALTIES LLC                                                       Case number (if known)_____________________________________



     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

NIGHTHAWK ROYALTIES LLC,                         Case No. 18-____________ (_____)

                      Debtor.                    (Joint Administration Requested)



                     LIST OF EQUITY SECURITY HOLDERS

 Name and last known address or           Number of               Kind of Interest
   place of business of holder            Securities

Nighthawk Energy plc                        100%                  LLC membership
1805 Shea Center Dr.
Suite 290
Highlands Ranch, CO 80129
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

NIGHTHAWK ROYALTIES LLC,                            Case Nos. 18-________ (___)

                        Debtor.                     (Joint Administration Requested)



                         CORPORATE OWNERSHIP STATEMENT

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are
corporations, other than a governmental unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interests:

             Shareholder                         Approximate Percentage of Shares Held
         Nighthawk Energy plc                                   100%

                    DECLARATION UNDER PENALTY OF PERJURY

       I, the undersigned authorized officer of Nighthawk Royalties LLC, the debtor in this case,
declare under penalty of perjury that I have read the foregoing corporate ownership statement
and that it is true and correct to the best of my information and belief.

Dated: April 30, 2018                               /s/ Richard McCullough
                                                    By: Richard McCullough
                                                    Its: President
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

NIGHTHAWK ROYALTIES LLC, et al.1                              Case No. 18-_____ (_____)

                             Debtors.                         (Joint Administration Requested)


                           CERTIFICATION OF CREDITOR MATRIX

         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the

United States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its

affiliated debtors in possession (collectively, the “Debtors”) hereby certify that the Creditor

Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the

best of the Debtors' knowledge, the Creditor Matrix is complete, correct, and consistent with

Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and

records as of the petition date. However, no comprehensive legal and/or factual investigations

with regard to possible defenses to any claims set forth in the Creditor Matrix have been

completed. Therefore, the listing does not, and should not, be deemed to constitute: (1) a waiver

of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed

claims; and/or (3) a waiver of any other right or legal position of the Debtors.




1
   The Debtors in these Chapter 11 Cases, along with the last four (4) digits of each Debtor’s federal employer
identification number, are: Nighthawk Royalties LLC, (6709) and Nighthawk Energy plc (1701). The business
address of the Debtors is 1805 Shea Center Dr., Suite 290, Highlands Ranch, CO 80129.
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 Fill in this information to identify the case and this filing:


              Nighthawk Royalties LLC
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


         ✔
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         ✔                                              List of Equity Security Holders, Corporate Ownership Statement, Creditor Matrix
               Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04/30/2018
        Executed on ______________                          /s/ Richard McCullough
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Richard McCullough
                                                                ________________________________________________________________________
                                                                Printed name

                                                                President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
